                  IN THE UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF GEORGIA
                             MACON DIVISION

JAMES THIELE,
                  Plaintiff,
                                                 Civil Action No. 5:24-cv-00337-TES
v.
CHECKMATE.COM, INC.,
                  Defendant.



                    JOINT REPORT ON STATUS OF DISCOVERY

      Plaintiff    James       Thiele   (“Thiele”   or   “Plaintiff”)   and   Defendant

Checkmate.com, Inc. (“Checkmate” or “Defendant”) (collectively, “The Parties”),

hereby files this joint report on the status of discovery. The parties state as follows:

      1.     Per the Joint Scheduling Order, Discovery in this case expires on June

11, 2025, with the deadline for dispositive and Daubert motions being due by July

11, 2025. [Dkt. 15].

      2.     To date, the parties have engaged in the exchange of written

documentation and responsive documents in compliance with both the Federal Rules

of Civil Procedure and the Local Rules of the Middle District of Georgia.

      3.     Following the exchange of written discovery responses and responsive

documents, the parties met to confer on March 28, 2025, to address any potential




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deficiencies regarding the respective written responses and to address the scheduling

of depositions.

      4.     In line with the Joint Scheduling Order, and as discussed during the

parties’ conference on March 28, 2025, Plaintiff intends to take the depositions of

eight individuals, who are current or former employees of Defendant. Defendant

intends to take one deposition, that of the Plaintiff himself.

      5.     The parties are working to identify dates in May and, if necessary, the

first week of June 2025 for the scheduling and taking of depositions.

      6.     Additionally, the parties think a stay of discovery prior to taking

depositions in this case to first allow the parties the opportunity to mediate their

dispute would be an efficient exercise of the parties’ time and resources and,

hopefully, result in an agreed upon settlement of their differences.

      7.     The parties are conferring regarding the selection of an agreed upon

mediator and intend to select a mediator and agreeable mediation date and inform

the Court of such decisions by April 28, 2025, while also requesting a stay of the

Court’s discovery and other deadlines to first allow mediation to occur.

      8.     The Parties will inform the Court of their mediation date in their

forthcoming Joint Motion to Stay Discovery and the Proceedings to First Allow for

Mediation.




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     Dated April 14, 2025.


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                          CERTIFICATE OF SERVICE

      I hereby certify on this 14th day of April, 2025, I electronically filed the

foregoing JOINT REPORT ON STATUS OF DISCOVERY using the Court’s

ECF system, which will automatically generate notice to counsel of record for all

other parties to the action as follows:

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